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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF INDIANA FIL E D

JUN 08 2017
DEBORA WALTON, ) U.S. CLERK’S O
) Cause No. A 'S OFFIC
INDIANAPOLIS, INDIANA
Plaintiff, )
)
vs. )
)
FIRST MERCHANTS BANK )
) 92 17 -cv- 1888 JMS -MPB
)
Defendant. )
)
COMPLAINT

AND DEMAND FOR JURY TRIAL

Plaintiff, Debora Walton, pro se (“Plaintiff’), as and for her complaint, alleges as
follows:

Violates Regulation E, including 12 C.F.R. 205.1,12 CER 205.2,12 C.F.R 205.3, 12
C.F.R 205.4, 12 C.F.R 205.5,12 C.F.R 205.6, 12 C.F.R 205.7 and 12 C.F.R 205.8, and
the Electronic Funds Transfer Act, including 15 U.S.C. § 1693c and 1693 et seg.; and
Charges, Overdraft Fees for purchases when First Merchants Bank never had to pay
out more funds than were in the customer’s checking account, Telephone Consumer

Protection Act, 47 U.S.C. §227, et seq. (the “TCPA’), and breach of business contract.

JURISDICTION
1. Jurisdiction of this Court arises under 28 U.S.C. § 1331 and pursuant to 15

U.S.C. § 1693 ef. seg. and 47 U.S.C. § 227 et. seq.
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VENUE
2. Venue is proper in this Judicial District pursuant to 28-U.S.C. § 1391(b), in that
Defendant transacts business in this District and a substantial portion of the acts giving

rise to this action occurred in this District.

PARTIES
3. The Plaintiff, Debora Walton, is an adult individual residing in Carmel, Indiana,
and is a “person” as defined by 47 U.S.C. § 153(39).
4. The Defendant First Merchants Bank (“First”), is an Indiana business entity with
an address of 200 E. Jackson Street, Muncie, IN 47305, and is a “person” as defined by

AT U.S.C. § 153(39).

INTRODUCTION

5. This is an action brought by an individual consumer for actual and statutory
damages, legal fees and costs pursuant to the:

a. Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq. (the
“TCPA’); .

b. Violates Regulation E, including 12 C.F.R 205.7; 12 C.F.R. 205.9 and 12
C.F.R. 205 et, and the Electronic Funds Transfer Act, including 15 U.S. C.
§ 1693c; and § 1693 ef. seq.;

c. Charges Overdraft Fees for purchases when First Merchants Bank never
had to pay out more funds than were in the customer's checking account;

d. Fraudulent charging fees on fees they charged the Plaintiff for services
never ordered nor never received;

e. Fails to properly disclose its overdraft policies, including its Daily Overdraft
Fee Polices;

f. Breaches its contract with customers by charging Overdraft Fees when no
over-draft has occurred;

g. Breaches its contract that the Plaintiff secured with a Bank, First Merchants
acquired.
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FACTUAL ALLEGATIONS
6. First Merchants Bank, charged Overdraft fee to the Plaintiff, without there
being authority to do so, and fees charged without merit, and was not triggered by
checks, debits, nor ACH transactions.
7. First Merchants Bank, charged the Plaintiff with a monthly fee for services never
rendered nor requested.
8. First Merchants Bank Failed to properly disclose its overdraft policies, including
its Daily Overdraft Fee Polices;
9. First Merchants Bank, breached a business contract between the Plaintiff and a
prior contract entered into by a Bank purchased by First Merchants Bank.
10. First Merchants violated TCPA, by constantly calling the Plaintiffs cell phone with
an automated voice recording, especially when the Plaintiff had requested the calls stop
and directly ask the V.P. and Branch Manager to please make the calls stop.
11. Closing the Plaintiffs accounts without merit, and cut all communications with the
Plaintiff concerning her personal and business accounts not limited to any open loans

and financial responsibilities the Plaintiff continues to maintain.

COUNT I
Breach of Business and Consumer Contracts

12. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
as though fully stated herein.

13. | Breach of Business Contract and Consumer Contract, according to Indiana
Business Law. Making changes and a payment schedule to an existing Loan that was
generated by a Lending Institution that First Merchants Bank acquired. First Merchants
never provided disclosures of any changes to the Loan contracts nor notice to the

Plaintiff about the terms of the changes to the Loan contracts.
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COUNT II

Violations of Regulation E
12. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
as though fully stated herein.
13. Violates Regulation E, including 12 C.F.R 205.et, seg. and the Electronic Funds
Transfer Act, including 15 U.S. C. § 1693c; and § 1693 ef. seq.;, by charging the
Plaintiff unauthorized fees. First Merchants Bank, accessed unauthorized charges to
the Plaintiffs checking account, which throw the account in the negative, in the amouf of
-$1.08, then consistently charging the Plaintiff $8.00 per day. First Merchant Bank
unilaterally closed the Plaintiff's accounts when she disputed the charges and ask for a

disclosure of the authority the Bank had to access the charges.

COUNT III
VILOATIONS OF THE TCPA -— 47 U.S.C. § 227,et seq.

14. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
as though fully stated herein;

15. At all times mentioned herein, Defendant called Plaintiffs cellular telephone
number using an ATDS or predictive dialer. in direct violation according to the
Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq. (the “TCPA’);

16. In expanding on the prohibitions off the TCPA, the Federal Communications
Commission (“FCC”) defines a predictive dialer as “a dialing system that automatically
dials consumers’ telephone numbers in a manner that “predicts” the time when a
consumer will answer the phone and a [representative] will be available to take the
call..."2003 TCPA Order, 18 FCC 36 Rcd 14022. The FCC explains that if a
representative is not “free to take a call that has been placed by a predictive dialer, the

consumer answers the phone only to hear, ‘dead air’ or a dial tone, causing frustration.”
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Id. In addition, the TCPA places prohibitions on companies that “abandon” calls by
setting “the predictive dialers to ring for a very short period of time before disconnecting
the cail; in such cases, the predictive dialer doses not record the call as having been
abandoned. “Ie.

17. Defendant's telephone system(s) have some earmarks of a predictive dialer.

18. When Plaintiff answered calls from Defendant, she heard silence before
Defendant’s telephone system would connect her to the next available representative or
disconnect the call.

19. Defendant's predictive dialers have the capacity to store or produce telephone
numbers to be called, using a random or sequential number generator.

20. Defendant placed automated calls to Plaintiff's cellular telephone number dispute
knowing that it lacks consent to do so. As such, each call placed to Plaintiff was made
in knowing and/or willful violation of the TCPA, and subject to treble damages pursuant
to 47 U.S.C. § 227(b)(30(C)

21. | The telephone number called by Defendant was assigned to cellular telephone
service for which Plaintiff incurs charges pursuant to 47 U.S.C. § 227(b)(1).

22. Plaintiff was annoyed, harassed and inconvenienced by Defendant’s continued
calls.

23. The calls from Defendant to Plaintiff was not placed for “emergency purposes”
as defined by 47 U.S.C. § 227(b)(1)(A)(i).

24. Plaintiff is entitled to an award of $500.00 in statutory damages for each call in
violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).

25. Plaintiff is entitled to an award of treble damages in an amount up to $1,500.00

pursuant to 47 U.S.C. § 227©(3)(B) and 47 U.S.C. § 227)b)(3)(C).
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PRAYER FOR RELIEF

WHEREFORE, the Plaintiff respectfully prays that judgment be awarded in his
favor and against Defendant as follows:
1. A finding that the Defendants violated the Regulation E and/or an admission from
the Defendant that it violated the 12 C.F.R 205 et. seg. for Actual Damages, Statutory
Damages, Reasonable Attorneys Fees, Cost pursuant Regulation E guidelines;
2. Actual damages;
3. Statutory damages of $500.00 for each violation determined to be negligent
pursuant to 47 U.S.C. § 227(b)(3)(B);
4. Treble damages for each violation determined to be willful and/or knowing
pursuant to t pursuant to 47 U.S.C. § 227(b)(3)(C); and

5. Such other and further relief as the Court deems just and proper.

June 8, 2017

Respectfully submitted,

Debora Walton
P.O. Box 598
Westfield, IN 46074

Request and Demand for a Jury Trail

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